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                         IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

     In re:                                             )      Chapter 11
                                                        )
     Blackjewel, L.L.C., et al.,                        )      Case No. 19-bk-30289 )
                                                        )      (Joint Administration Requested)
                             Debtors.1

     MOTION OF DEBTORS FOR ENTRY OF (I) AN ORDER (A) APPROVING BIDDING
      PROCEDURES, (B) SCHEDULING AN AUCTION, SALE HEARING AND OTHER
        DATES AND DEADLINES, (C) APPROVING CONTURA ENERGY, INC. AS A
       STALKING HORSE PURCHASER, (D) APPROVING THE ASSUMPTION AND
           ASSIGNMENT OF CONTRACTS AND LEASES AND RELATED CURE
      PROCEDURES, (E) APPROVING THE PURCHASE DEPOSIT, (F) AUTHORIZING
      TERMINATION OF THE 401(K) PLAN AND (G) GRANTING RELATED RELIEF,
     AND (II) AN ORDER APPROVING THE SALE OF THE PURCHASED ASSETS FREE
                 AND CLEAR OF LIENS, CLAIMS AND ENCUMBRANCES

              Blackjewel, L.L.C., and its affiliated debtors and debtors-in-possession (collectively, the

 “Debtors”) in the above-captioned chapter 11 cases, hereby move this Court, pursuant to

 sections 105, 363 and 365 of title 11 of the United States Code (the “Bankruptcy Code”), Rules

 2002, 6004, 6006, 9008 and 9014 of the Federal Rules of Bankruptcy Procedure (the

 “Bankruptcy Rules”) and Rule 6004-1 of the Local Bankruptcy Rules for the United States

 Bankruptcy Court for the Southern District of West Virginia (the “Local Rules”) for (i) entry of

 an order (the “Bidding Procedures Order”), substantially in the form attached hereto as Exhibit

 A, that (a) establishes bidding procedures, approves Contura Energy, Inc. (“Contura”) as the

 stalking horse purchaser for certain assets, and otherwise formalizes and governs the sale process

 for the Debtors’ assets consistent with the term sheet attached hereto as Exhibit B (the “Term

 1
  The Debtors in these chapter 11 cases and the last four digits of each Debtor’s taxpayer identification number
 are as follows: Blackjewel, L.L.C. (0823); Blackjewel Holdings L.L.C. (4745); Revelation Energy Holdings,
 LLC (8795); Revelation Management Corporation (8908); Revelation Energy, LLC (4605); Dominion Coal
 Corporation (2957); Harold Keene Coal Co. LLC (6749); Vansant Coal Corporation (2785); Lone Mountain
 Processing, LLC (0457); Powell Mountain Energy, LLC (1024); and Cumberland River Coal LLC (2213). The
 headquarters for each of the Debtors is located at 1051 Main Street, Milton, West Virginia 25541-1215.
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 Sheet”), (b) approves the liens and claims granted in connection with the Purchase Deposit, and

 (c) authorizes the termination of the Debtors’ 401(k) Plan (as defined below);2 and (ii) entry of a

 sale order (the “Sale Order”) following an auction (if necessary) (the “Auction”) and sale hearing

 (the “Sale Hearing”), that will approve the sale of assets by the Debtors to the bidder or bidders

 that submit the highest and best bid, including bids free and clear of liens, claims and

 encumbrances, in a manner consistent with the dates, deadlines and other requirements provided

 for herein (the “Successful Bid(s)”). In support of this motion, the Debtors rely upon and

 incorporate by reference the (i) the Declaration of David J. Beckman in Support of Sale Motion

 (the “Beckman Declaration”), and (ii) the Declaration of Robert J. White in Support of Sale

 Motion (the “White Declaration”). In further support of this motion, the Debtors respectfully

 state as follows:

                                         PRELIMINARY STATEMENT

            1.       As the Court is aware, the Debtors filed these chapter 11 cases under incredibly

 difficult and exigent circumstances. As a result of the Debtors’ dire liquidity crisis and the

 deteriorating value of the estate, the Debtors have had no choice but to shut down active coal

 production, and many of their employees have been furloughed without pay since the

 commencement of these cases.                   Moreover, the Debtors face increasing pressure from

 governmental regulators due to their inability to pay taxes, royalties or lease payments and their

 inability to satisfy legally mandated reclamation obligations. The Debtors have, to this point,

 avoided a conversion to chapter 7—which would result in further destruction of value, to the

 detriment of all the Debtors’ creditors, employees and other stakeholders—due to the short-term

 2
     Capitalized terms used but not otherwise defined herein shall have the meaning ascribed in the Term Sheet.


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 incremental rescue financing provided by certain parties in interest. While the Debtors and their

 advisors have been intensely focused on trying to obtain long-term financing necessary to restart

 operations, return the Debtors’ employees to work, and conduct a value-maximizing going-

 concern sale process, no party willing to provide such financing has materialized. The Debtors’

 existing short-term funding has now been exhausted, and absent additional short-term funding

 and a viable long-term strategic plan, a conversion to chapter 7 is inevitable.

        2.      After weeks of negotiations with many of the Debtors’ stakeholders—including

 the Debtors’ prepetition senior lenders and debtor-in-possession financing lenders, Contura, the

 Creditors’ Committee, the State of Wyoming and the U.S. Department of Justice—the Debtors

 have now secured the best outcome possible under these circumstances, to the benefit of all

 stakeholders and employees of the Debtors, with the help and support of Contura. These

 negotiations culminated in the agreement between the Debtors and Contura to the terms and

 conditions of the sale transactions set forth in the Term Sheet (the “Stalking Horse Sale”), which

 will ensure that the Western Mines and the Pax Mines are restored to operating status and up to

 700 Wyoming residents are able to continue earning regular wages in jobs associated with the

 mines for an estimated minimum of six to twelve years. Pursuant to the terms of the Stalking

 Horse Sale and subject to Court approval and higher and better bids, Contura has agreed to

 purchase, and the Debtors have agreed to sell, substantially all assets associated with the Western

 Mines and the Pax Mines in exchange for (i) the assumption of hundreds of millions of dollars in

 liabilities associated with such assets, including payroll-related payments for employees

 returning to work in the Western Mines, and (ii) cash consideration in the amount of $20.6

 million to be used to administer and keep alive the Debtors’ estates and provide cash necessary

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 to achieve other recoveries. Critically, Contura has agreed to fund a cash deposit toward the

 purchase price under the Stalking Horse Sale immediately upon entry by the Court of the

 Bidding Procedures Order, and to allow the Debtors to use this deposit to pay anticipated

 expenses through the conclusion of an expedited, but efficient sale process for substantially all of

 their assets. The deposit will only be repaid if Contura’s bid is topped by a higher and better bid

 (in which case, the Successful Bidder will be obligated to repay such amounts pursuant to the

 Term Sheet) or if no sale of the Western/Pax Assets to any party is approved by the Court (in

 which case, the Debtors will return unused amounts from the deposit and Contura will have a

 super-priority junior secured claim against the Debtors for the balance).

        3.      The Debtors and their advisors have determined that the sale process for which

 the Debtors seek approval, including the terms of the Stalking Horse Sale, is the only opportunity

 to maximize value, avoid a permanent operational shutdown of the Western Mines and the Pax

 Surface Mine, return as many employees to work as possible and ensure that, ultimately, the

 necessary reclamation is undertaken with respect to those mines. Indeed, pursuant to the Term

 Sheet, Contura commits to bring back the majority of employees at the sites it seeks to purchase

 if the Stalking Horse Sale is consummated and assume hundreds of millions of dollars of

 liabilities currently burdening these assets. The transaction would further provide real value to

 the Debtors’ creditors through the cash consideration provided under the Stalking Horse Sale,

 which will be available, after satisfaction of certain administrative expenses, for distribution to

 the Debtors’ creditors. Moreover, Contura’s agreement to fund the sale process through a

 purchase deposit is absolutely critical, without which no sale process could occur and significant

 potential value for the Debtors’ estates would be lost altogether. The stalking horse bid and

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 purchase deposit allow the Debtors and their advisors the breathing room necessary to allow

 them to focus on what is important – achieving a successful sale (or sales) and getting as many

 people back to work as quickly as possible. Without Contura’s agreement to the Stalking Horse

 Sale, including the purchase deposit to fund the sale process, none of that would be possible and

 the Debtors would likely be forced to immediately convert these cases to cases under chapter 7.

 Accordingly, the Debtors believe that the sale process described herein is in the best interest of

 their estates, creditors, and other stakeholders.

                                  JURISDICTION AND VENUE

        4.      This Court has jurisdiction to consider this motion pursuant to 28 U.S.C. §§ 157

 and 1334.

        5.      This is a core proceeding under 28 U.S.C. § 157(b), and the Debtors consent to

 entry of a final order by the Court in connection with this motion to the extent it is later

 determined that the Court, absent consent of the parties, cannot enter final orders or judgments in

 connection herewith consistent with Article III of the United States Constitution.

        6.      Venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409.

 The statutory basis for the relief requested herein are sections 105, 363 and 365 of title 11 of the

 Bankruptcy Code, Bankruptcy Rules 2002, 6004, 6006, 9008 and 9014 and Local Rule 6004-1.

                                          BACKGROUND

        7.      On July 1, 2019 (the “Petition Date”), each of the Debtors filed a voluntary

 petition for relief with the Court under chapter 11 of the Bankruptcy Code. The Debtors are

 continuing to operate and maintain their business as debtors in possession pursuant to sections

 1107(a) and 1108 of the Bankruptcy Code.

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         8.       On July 3, 2019, the Office of the United States Trustee for Region 4, the District

 of West Virginia (the “U.S. Trustee”), appointed an official committee of unsecured creditors

 [Docket No. 46] (the “Creditors’ Committee”). As of the date hereof, no party has requested the

 appointment of a trustee or an examiner in these chapter 11 cases.

         9.       A description of the Debtors’ business and the reasons for filing these chapter 11

 cases is set forth in the Declaration of Jeff A. Hoops, Sr. in Support of Chapter 11 Filings and

 First-Day Motions [Doc. No. 14] (the “First Day Declaration”).3

                                         THE DEBTORS’ ASSETS

         10.      As provided in the First Day Declaration, the Debtors operate approximately 32

 properties, including surface and underground coal mines, preparation or wash plants, and

 loadouts or tipples. Combined, the Debtors and their non-Debtor affiliates hold more than 500

 mining permits, which is more than any other mining enterprise in the country.

         11.      The Debtors’ operations are located in the Central Appalachian Basin in Virginia,

 Kentucky and West Virginia (the “Eastern Division”) and the Powder River Basin in Wyoming

 (the “Western Division”). The Eastern Division is divided into four subdivisions – Black

 Mountain/Lone Mountain, Virginia, BHL, and Northern. Coal mined from the Eastern Division

 is a mix of mid and high volatility metallurgical coal and specialty and industrial coals, with

 thermal coal as a by-product. The Eastern Division holds approximately 600 million reserve

 tons, has an average mine life of 30+ years, and can produce up to 6 million tons per year. The

 Eastern Division produced 3.3 million tons in 2018.



 3
   Mr. Hoops resigned his positions as officer and director of each of the Debtors on July 3, 2019 and is no longer
 involved in the management of the Debtors or their businesses.

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        12.      The Western Division operates the open-pit surface mines commonly known as

 the Belle Ayr and Eagle Butte mines (the “Western Mines”), both located in northeast Wyoming,

 and produces low sulfur, sub-bituminous thermal coal.               The Western Division holds

 approximately 600 million reserve tons. The average mine life in the Western Division is 20

 years and production capacity is 50 million tons. The Western Division produced 35.5 million

 tons in 2018.

        13.      The Eastern Division and Western Division assets (collectively, the “Assets”) are

 subject to significant permitting, bonding and other governmental, regulatory and environmental

 requirements that will be addressed through the sale process, including through a possible

 assignment of governmental permits and other agreements and rights required to operate the

 near-term producing projects and to continue exploring the other projects. The Assets also

 include a mix of personal property, water rights, mining and other service contracts, leases and

 other rights that will need to be assigned or otherwise transferred as part of the sale process.

                      POSTPETITION EFFORTS TO MARKET
              THE DEBTORS’ ASSETS AND FINANCE THE SALE PROCESS

        14.      The Debtors, with the assistance of their investment banker and other

 professionals have been working diligently to seek out third-party purchasers that may be

 interested in purchasing substantially all or a portion of the Assets. Specifically, as the date of

 filing this motion, the Debtors’ advisors have reached out to more than twenty-seven (27) parties

 to solicit interest in acquiring the Assets. At this time, ten (10) parties have signed non-

 disclosure agreements and are actively engaged in conducting due diligence (collectively, the

 “Preliminary Interested Investors”). The Debtors and their professionals are continuing these


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 efforts and expect additional parties to sign non-disclosure agreements and perform due diligence

 during the sale process.

        15.     In tandem with and in order to fund these efforts, the Debtors have sought

 financing from multiple sources, including the Debtors’ prepetition creditors. Notwithstanding

 their efforts, the Debtors have been unable to obtain traditional long-term debtor-in-possession

 financing. While the Debtors’ prepetition senior secured lenders provided an initial amount of

 interim financing at the outset of these cases, after weeks of negotiation with the Debtors and

 their advisors, these lenders ultimately declined to extend the additional financing necessary to

 allow the Debtors to continue to pursue a value maximizing sale process that would allow the

 Debtors to achieve the best value for the benefit of all stakeholders. At the eleventh hour, as the

 Debtors were facing inevitable chapter 7 conversion, funds managed or advised by Highbridge

 Capital Management, LLC and Whitebox Advisors LLC agreed to provide incremental financing

 to the Debtors on a junior secured basis. This financing, which Contura has agreed to step into

 as a lender (if so requested by Highbridge Capital Management, LLC and Whitebox Advisors

 LLC) pursuant to a separate agreement entered into between Contura and the existing lenders,

 saved the Debtors’ estates from a value destructive liquidation. The Debtors, Contura and each

 of their respective advisors used the opportunity provided by this incremental financing to

 formulate a workable sale process and negotiate the Stalking Horse Sale, including Contura’s

 agreement to fund the sale process and provide a stalking horse bid for the Western Purchased

 Assets and the Pax Purchased Assets. The Debtors’ incremental debtor-in-possession financing

 liquidity has now been exhausted, and absent approval by the court of the sale process proposed

 herein and Contura’s stalking horse bid, the Debtors will ultimately be forced into chapter 7.

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                                OVERVIEW OF THE TERM SHEET

           16.    As set forth above, subject to Court approval and higher and better bids, the

 Debtors have agreed to the Stalking Horse Sale with Contura as set forth in the Term Sheet,

 which provides the terms and conditions upon which Contura will serve as Stalking Horse

 Purchaser for (a) substantially all of the assets in the Western Division, except for the Western

 Excluded Assets and the Western Excluded Liabilities, and (b) substantially all of the assets

 related to the Pax Surface Mines, excluding the Pax Excluded Assets and Pax Excluded

 Liabilities.

           17.    The following chart summarizes the key terms and conditions of the Term Sheet:4

             Term Sheet Provision                                    Summary Description
 Parties                                                   Sellers:    Blackjewel, L.L.C. and Blackjewel
                                                           Holdings L.L.C.
                                                           Buyers: One or more subsidiaries of Contura
                                                           Energy, Inc. (the “Stalking Horse Purchaser”)

 Financing/Purchase Price Deposit                          In connection with its agreement to serve as
                                                           Stalking Horse Purchaser, Contura has agreed,
                                                           subject to entry of the Bidding Procedures Order, to
                                                           provide a cash deposit equal to $8.1 million to the
                                                           Seller Parties (the “Purchase Deposit”), to be
                                                           applied to the purchase price if the Western/Pax
                                                           Asset Sale.

                                                           The Purchase Deposit (and any resulting
                                                           Superpriority Purchase Price Claim (as defined
                                                           below)) shall bear interest at a rate of LIBOR +
                                                           12.50% (LIBOR floor of 2.00%), which shall be
                                                           paid in cash on a monthly basis in arrears. To the
                                                           extent such Purchase Deposit (or resulting
                                                           Superpriority Purchase Price Claim) or any interest
                                                           on the Purchase Deposit (or resulting Superpriority
                                                           Purchase Price Claim) is not paid when due, such
                                                           amounts shall also bear interest at a rate of 2.00%.


 4
   This summary is provided for the convenience of the Court and parties-in-interest. To the extent there is any
 conflict between this summary and the Term Sheet, the latter governs in all respects.
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                                                              The Purchase Deposit and the proceeds thereof
                                                              shall be available for use by the Seller Parties,
                                                              subject to the following conditions:

                                                                  (a)   The Seller Parties must comply with the
                                                                        Budget attached hereto (the “Budget”);5

                                                                  (b)   The Purchase Deposit and all proceeds
                                                                        thereof shall be held in Escrow, subject to
                                                                        release from Escrow for use by the Debtors
                                                                        solely in accordance with the Budget,
                                                                        including, without limitation, deposits into
                                                                        an escrow account maintained for the
                                                                        exclusive benefit of the professionals
                                                                        retained by the Debtors and the Committee
                                                                        of the funds necessary to pay allowed fees
                                                                        and expenses of those professional (the
                                                                        “Professional Escrow”). For the avoidance
                                                                        of doubt, the Professional Escrow shall not
                                                                        be subject to any lien or security interest
                                                                        and is and shall be maintained for the
                                                                        exclusive benefit of estate professionals
                                                                        even in the event of a future conversion to
                                                                        chapter 7 or dismissal of these cases; and

                                                              Any other Bid for the Western/Pax Assets that is a
                                                              Qualified Bid must include, as a part of such bid,
                                                              reimbursement to Contura of the Purchase Deposit
                                                              (in cash in full), unless waived by Contura

 Purchase Deposit Liens/Claims                                To the extent that the Debtors use the Purchase
                                                              Deposit and solely in the event that the Court does
                                                              not approve a sale of the Western/Pax Assets either
                                                              to Contura or to another Bidder that reimburses
                                                              Contura for the Purchase Deposit, Contura shall
                                                              receive a dollar-for-dollar superpriority claim (the
                                                              “Superpriority Purchase Deposit Claims”) against
                                                              all Debtors, which claims shall be junior to any
                                                              allowed superpriority administrative claims granted
                                                              in connection with the Riverstone DIP Facility and
                                                              pari passu to the administrative claims granted in
                                                              connection with the Highbridge/Whitebox DIP
                                                              Facility but shall be senior to all other
                                                              administrative expenses, and which claim shall be
                                                              granted:



 5
     A copy of the Budget is attached hereto as Exhibit C.
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                                            (a)      Liens on all present and after-acquired
                                            property (whether tangible, intangible, real,
                                            personal or mixed and wherever located) of the
                                            Debtors that were not subject to validly perfected
                                            liens as of the Petition Date, including without
                                            limitation proceeds of avoidance actions, which
                                            liens shall be junior to (1) any liens (the
                                            “Riverstone DIP Liens”) securing the existing
                                            interim DIP financing provided by Riverstone
                                            Credit Partners – Direct, L.P. (the “Riverstone DIP
                                            Facility”) and (2) any liens (the “HB/WB DIP
                                            Liens”) securing the Highbridge/Whitebox DIP
                                            Facility; and

                                            (b)      Liens on all present and after-acquired
                                            encumbered property (whether tangible, intangible,
                                            real, personal or mixed and wherever located) of
                                            the Debtors that is subject to validly perfected liens
                                            as of the date of the filing of the Chapter 11 Cases,
                                            which liens shall be junior to the (i) Riverstone DIP
                                            Liens, (ii) the HB/WB DIP Liens and (iii) any and
                                            all valid, perfected, enforceable and unavoidable
                                            liens as of the July 1, 2019 (the “Petition Date”)
                                            held or asserted by any person or entity, including,
                                            without limitation, Riverstone Credit Partners,
                                            United Bank, Inc., Campbell County, Wyoming for
                                            unpaid ad valorem taxes, Fifth Third Bank, or
                                            Caterpillar     Financial    Services     Corporation
                                            (collectively, the “Senior Liens.”)

                                            All of the liens granted herein are, to the fullest
                                            extent permitted by applicable law, effective and
                                            perfected upon entry of the Bidding Procedures
                                            Order and without the necessity of the execution of
                                            mortgages,     security    agreements,      pledge
                                            agreements, financing statements or other
                                            agreements.

                                            Notwithstanding the foregoing, the Company shall
                                            take all actions necessary, desirable and/or
                                            reasonably requested by Contura to create and
                                            perfect all liens in the collateral securing the
                                            Purchase Deposit Superpriority Claims, including
                                            in any jurisdiction in which the Bidding Procedures
                                            Order is not applicable.

                                            In addition, with respect to the Purchase Deposit
                                            Superpriority Claims, the Bidding Procedures

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                                                 Order shall provide for waivers of section 506(c),
                                                 section 552(b)’s equities of the case exception, and
                                                 any right to apply the equitable doctrine of
                                                 marshaling (other than as provided in the Bidding
                                                 Procedures Order), among other customary terms
                                                 and provisions.

 Conditions Precedent to Purchase Deposit               Entry of the Bidding Procedures Order by
                                                         the Bankruptcy Court which shall be in
                                                         form and substance acceptable to Contura,
                                                         and which shall approve and bind the
                                                         Debtors to comply with this Term Sheet
                                                         and the Bidding Procedures; and

                                                        The Debtors shall file voluntary petitions in
                                                         the Chapter 11 Cases on behalf of any
                                                         presently non-debtor entities that own or
                                                         control any assets (including permits,
                                                         licenses or leases) necessary or desirable to
                                                         operate either the Western Purchased
                                                         Assets or the Pax Purchased Assets;

                                                        Delivery of an updated Budget in form and
                                                         substance acceptable to Contura.

 Return of Purchase Price Deposit/Payment of Any unused Purchase Deposit shall be remitted to
 Superpriority Purchase Price Deposit Claim  Contura and any Superpriority Purchase Deposit
                                             Claim (including accrued interest on the Purchase
                                             Price Deposit or Superpriority Purchase Deposit
                                             Claim) shall be due and owing to Contura, upon the
                                             earlier of:

                                                        A breach of any term of this Term Sheet by
                                                         the Debtors;

                                                        Use of the Purchase Deposit in a manner
                                                         inconsistent with the Budget;

                                                        The approval by the Bankruptcy Court of a
                                                         Successful Bid for any of the Western
                                                         Assets or the Pax Assets (unless Contura
                                                         shall have waived the requirement for such
                                                         Successful Bid to have reimbursed the
                                                         Purchase Price Deposit); or

                                                        August 5, 2019, unless the Sale Order for
                                                         each of the Western Assets and the Pax
                                                         Assets shall have been approved, which

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                                                         shall approve the Western Asset Sale and
                                                         the Pax Asset Sale to Contura.

 Western Division Asset Sale                     Contura will purchase substantially all of the assets
                                                 of the Debtors related to the open-pit surface mines
                                                 and related facilities commonly known as the Belle
                                                 Ayr mine and the Eagle Butte mine, including all
                                                 equipment, books and records related thereto, other
                                                 than the Western Excluded Assets, free and clear of
                                                 all liens, claims and encumbrances. Contura will
                                                 assume the Western Assumed Liabilities, but not
                                                 the Western Excluded Liabilities.

 Consideration for the Western Asset Sale and As consideration for the Western/Pax Assets,
 Pax Asset Sale                               Contura will (i) pay $12.5 million in cash (in
                                              addition to the Purchase Deposit), (ii) assume the
                                              Western Assumed Obligations and (iii) assume the
                                              Pax Assumed Obligations.

                                                 The consideration will be allocated among the
                                                 Western/Pax Assets in a manner to be determined.

 Western Division Transfer of Leases             The Seller Parties and Contura will cooperate to
                                                 diligently pursue the transfer to it of all lease
                                                 agreements (“Leases”) held by the Seller Parties,
                                                 related to the operation of the Western Mines.

 Pax Surface Mine Asset Sale                     Contura will purchase substantially all of the assets
                                                 of the Debtors related to the open-pit surface mine
                                                 and related facilities commonly known as the Pax
                                                 Surface Mine, including all equipment, books and
                                                 records related thereto, other than the Pax Excluded
                                                 Assets, free and clear of all liens, claims and
                                                 encumbrances. Contura will assume the Pax
                                                 Assumed Liabilities, but not the Pax Excluded
                                                 Liabilities.

 Transfer of Pax Permits and Leases              The Seller Parties and Contura will cooperate to
                                                 diligently pursue the transfer to Contura of all
                                                 permits, licenses consents, authorizations, permit
                                                 applications and other approvals (“Permits”) and
                                                 Leases held by the Sellers Parties and related to the
                                                 operation of the Pax Mine.

 Representations, Warranties and Covenants       The Western Asset Sale and Pax Asset Sale will
                                                 contain mutually agreeable representations,
                                                 warranties and covenants consistent with
                                                 customary bankruptcy practice relating to sales
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                                                conducted pursuant      to   section   363   of   the
                                                Bankruptcy Code.

 Conditions Precedent to Closing                The Western Asset Sale and the Pax Asset Sale will
                                                be subject to customary conditions to the parties’
                                                obligations to effect the closing (which may be
                                                waived in the sole discretion of Contura),
                                                including, but not limited to:

                                                   (a)   all specified governmental and regulatory
                                                         approvals will have been obtained or, if
                                                         applicable, will have expired, will have
                                                         been     waived    by    the   applicable
                                                         governmental authority or will have been
                                                         terminated;

                                                   (b)   there will not be in effect any order by a
                                                         governmental      body     of   competent
                                                         jurisdiction restraining, enjoining or
                                                         otherwise prohibiting the consummation of
                                                         the transactions contemplated by this Term
                                                         Sheet;

                                                   (c)   the Bankruptcy Court shall have approved
                                                         the assumption and assignment of any
                                                         unexpired leases or executory contracts
                                                         constituting Western Purchased Assets or
                                                         Pax Purchased Assets, as applicable;

                                                   (d)   the Governmental Parties shall have
                                                         consented to (i) the transfer of the Leases
                                                         (as defined in the Bidding Procedures)
                                                         related to the Western Mines and the Pax
                                                         Mines, and (ii) a mutually agreed
                                                         settlement regarding any accrued and
                                                         unpaid royalty payments and production
                                                         taxes related to the Western Mines or the
                                                         Pax Surface Mines;

                                                   (e)   the parties will have executed and
                                                         delivered all Definitive Documents; and

                                                   (f)   the Bankruptcy Court will have entered a
                                                         Sale Order approving the Western Asset
                                                         Sale or Pax Asset Sale, as applicable and
                                                         such Sale Order will not be subject to any
                                                         stay.


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 Releases                                          The Sale Order will provide for customary releases
                                                   by the Seller Parties of any claims or causes of
                                                   action against Contura, and the representatives,
                                                   professionals and other advisors thereof, including
                                                   but not limited to release of any and all claims,
                                                   obligations, suits, judgments, damages, rights,
                                                   causes of action and liabilities of any nature
                                                   whatsoever (including, without limitation, those
                                                   arising under the Bankruptcy Code), whether
                                                   known or unknown, foreseen or unforeseen,
                                                   matured or unmatured, existing or thereafter
                                                   arising, in law, equity, or otherwise against the
                                                   Purchased Assets and Contura and their respective
                                                   affiliates. In addition, if Sellers file a chapter 11
                                                   plan, such plan will include releases and
                                                   exculpation provisions in favor of Contura and the
                                                   representatives, professionals and other advisors
                                                   thereof to the maximum extent permitted by law.

                                                   For the avoidance of doubt, Contura and the
                                                   Highbridge/Whitebox DIP Lenders shall not waive,
                                                   and shall expressly reserve, all claims against the
                                                   Seller Parties and the Debtors’ estates, whether
                                                   arising under contract, by law, in equity or
                                                   otherwise.


                                THE BIDDING PROCEDURES

 A.     Need for a Timely Sale Process

        18.     The proposed bidding procedures (the “Bidding Procedures”) for the Purchased

 Assets and any other portion of the Assets, are attached to the Term Sheet as Exhibit A. The

 Bidding Procedures are designed to, among other things, (a) solicit final, binding Bids from

 Preliminary Interested Investors and any other parties that may be interested in submitting a

 Qualified Bid, (b) enable the Debtors, in consultation with the Consultation Parties, to evaluate

 the Bids received in a fair and efficient manner and determine which are Qualified Bids, and

 (c) facilitate competitive bidding in the event that more than one Qualified Bid is submitted for

 the Purchased Assets or any other portion of the Assets.

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        19.     The Debtors respectfully request that the Court approve the following proposed

 expedited timeline for the sale process:

                     Action                                            Deadline
 Bid Deadline                                       July 31, 2019 at 5:00 p.m. (prevailing Eastern
                                                    Time)

 Auction                                            August 1, 2019 at 9:00 a.m. (prevailing Eastern
                                                    Time), if one is needed, which will be held at
                                                    the offices of Squire Patton Boggs (US) LLP,
                                                    201 E. Fourth Street, Suite 1900, Cincinnati,
                                                    Ohio 45202.

 Sale Objection Deadline                            August 2, 2019, at any time prior to the
                                                    commencement of the Sale Hearing.

 Sale Hearing                                       August 2, 2019

 Closing Date                                       August 5, 2019


        20.     While necessarily extremely short due to the Debtors’ limited liquidity, the

 timeline provides Preliminary Interested Investors with the time necessary to formulate a

 competitive bid, without unduly prejudicing the Debtors’ estates. Importantly, Contura has

 agreed to finance the sale process on the timeline set forth above through the Purchase Deposit

 set forth in the Term Sheet. In formulating the sale timeline, the Debtors balanced the need to

 provide adequate and appropriate notice to parties in interest with the need move as quickly and

 efficiently as possible to realize on the Contura bid, achieve a successful sale or sales, and return

 as many employees work as possible. Absent approval of these Bidding Procedures, the Debtors

 will have no choice but to convert their cases to cases under chapter 7 of the Bankruptcy Code.

        21.     As described herein, the Debtors and their advisors have been diligently

 marketing the Assets since the Petition Date to a broad group of strategic and financial buyers

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 and substantial information regarding the Assets has been made available during the marketing

 process. Accordingly, the Debtors believe that numerous parties that may have an interest in

 bidding at the Auction are already familiar with the Purchased Assets for the purposes of

 formulating their Bids. Preliminary Interested Investors, and any other parties that execute

 confidentiality agreements, will continue to have access to updated information prepared by the

 Debtors and a substantial body of information that resides in the Debtors’ data room.

 B.      Overview of the Bidding Procedures

         22.      The Bidding Procedures are intended, under the exigent circumstances present, to

 foster a fair and efficient competitive sale process for substantially all of the Debtors’ assets that

 will provide the best opportunity to market test the bids submitted by Contura for the Western

 Purchased Assets and the Pax Purchased Assets, potentially receive higher and better offers for

 those assets, and to identify the purchasers for the Debtors’ remaining Assets. Because the

 Bidding Procedures are attached as Exhibit A to the Term Sheet, they are not restated in their

 entirety herein. Generally speaking, however, the Bidding Procedures establish, among other

 things:6

                  a)       The requirements that interested parties must satisfy to participate in the
                           bidding process and become “Preliminary Interested Investors” (see Bid.
                           Proc., at Preliminary Interested Investors);

                  b)       The availability of, access to, and conduct during due diligence by
                           Preliminary Interested Investors (see Bid. Proc., at Due Diligence);

                  c)       The deadlines and requirements for submitting competing bids and the
                           method and criteria by which such competing bids are deemed to be
                           “Qualified Bids” sufficient to trigger an Auction, including the minimum

 6
   This summary is provided for the convenience of the Court and parties in interest. To the extent there is any
 conflict between this summary and the Bidding Procedures, the latter governs in all respects. Capitalized terms used
 but not otherwise defined in this summary shall have the meanings set forth in the Bidding Procedures.
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                       consideration that must be provided, the terms and conditions that must be
                       satisfied, and deadlines that must be met by any Preliminary Interested
                       Investors (see Bid. Proc., at Qualified Bids);

                d)     The manner in which Qualified Bids will be evaluated by the Debtors to
                       determine the Auction Baseline Bid for the Auction (see Bid. Proc., at
                       Auction);

                e)     The criteria by which the Successful Bid will be selected by the Debtors
                       (see Bid. Proc., at Auction); and

                f)     The condition in which the Assets are to be sold, free and clear of any
                       pledges, liens, security interests, encumbrances, claims, charges, options
                       and interests therein (see Bid. Proc., at Sale Free and Clear; As Is / Where
                       Is).

        23.     Importantly, the Bidding Procedures include a mechanism that ensures the

 Debtors’ estates will not be left administratively insolvent by the proposed sales. Any Bid for

 any Lot or combination of Lots must, at a minimum, provide for (i) the performance of the

 Reclamation Commitments associated with the Lots subject to such Bid and (ii) the payment in

 cash in full of a pro rata portion of (A) fees owing to the United States Trustee incurred in

 connection with the Debtors’ chapter 11 cases and any fees payable to the Clerk of Court, (B)

 professional fees, expenses, and disbursements incurred by professional persons employed by the

 Debtors or the UCC (including any out-of-pocket expenses of the members of the Creditors’

 Committee) (“Professional Fees and Expenses”) incurred on and after the Petition Date, (C)

 certain other allowed administrative expenses of the Debtors’ estates as identified by the Debtors

 and (D) certain costs necessary to wind-down the Debtors’ estates as identified by the Debtors

 (collectively, the “Carve-Out”). The portion of the Minimum Bid representing the amount of the

 Carve-Out is to be held by the Debtors in a segregated escrow account, not subject to the lien or

 security interest of any party including, without limitation, parties providing secured debtor in

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 possession financing and shall be used solely and exclusively to satisfy the fees, expenses and

 costs included in the Carve-Out. In the event of a conversion of these chapter 11 cases to cases

 under chapter 7, the chapter 7 trustee or trustees shall have no right to the segregated account for

 the Carve-Out and the segregated account shall not be part of the chapter 7 estate or estates.

         24.     In addition, the Bidding Procedures recognize the Debtors’ fiduciary obligations

 to maximize sale value, and, as such, do not impair the Debtors’ ability to consider all Qualified

 Bids, select higher and better offers, potentially sell their Assets in lots, and preserve the

 Debtors’ right to modify the Bidding Procedures as necessary or appropriate to maximize value

 for their estates.

                                       STALKING HORSE

         25.     As discussed herein, the Debtors have selected Contura as the Stalking Horse

 Purchaser for the Western Purchased Assets and the Pax Purchased Assets. It is possible that

 other Preliminary Interested Investors are designated as a stalking horse purchaser for other

 portions of the Assets, but as of the date hereof, only Contura has been designated a Stalking

 Horse Purchaser. The Debtors request that they be granted the flexibility to designate other

 Preliminary Interested Investors as stalking horse purchasers and designate Contura as Stalking

 Horse Purchaser for the Purchased Assets, pursuant to the terms and conditions in the Term

 Sheet attached hereto.

                             FORM AND MANNER OF SALE NOTICE

         26.     Within one (1) business day after entry of the Bidding Procedures Order, or as

 soon as reasonably practicable thereafter (the “Mailing Date”), the Debtors will serve a notice of

 the Sale (the “Sale Notice”), substantially in the form attached hereto as Exhibit D, by first-class

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 mail or, for those parties who have consented to receive notice by the Electronic Case Files

 (“ECF”) system, by ECF, upon the following parties: (a) the Consultation Parties (as defined in

 the Bidding Procedures); (b) Riverstone; (c) United Bank, Inc.; (d) the Office of the United

 States Trustee; (e) all counterparties to potentially assigned contracts; (f) any parties known or

 reasonably believed to have expressed interest in the Assets; (g) all creditors listed in the

 Debtors’ creditor matrix; (h) all parties who have appeared in these cases; (i) all applicable state

 and local taxing authorities; and (j) each governmental agency that is an interested party with

 respect to the sale transactions proposed in the Term Sheet.

        27.     The Debtors respectfully submit that, under the circumstances, service of the Sale

 Notice in the manner described herein will provide adequate notice and due process to all parties

 in interest with respect to the sale process and the proposed sale of the Purchased Assets free and

 clear of liens, claims, encumbrances and other interests.

                                      RELIEF REQUESTED

        28.     The Debtors respectfully request that the Court enter the Bidding Procedures

 Order, substantially in the form attached hereto as Exhibit A, granting, among other things, the

 following relief:

                a)      Approving the Term Sheet and Bidding Procedures attached hereto as
                        Exhibit B;

                b)      Approving the Contract Procedures detailed in this Motion and the
                        Bidding Procedures Order;

                c)      Approving the Sale Notice attached hereto as Exhibit D;

                d)      Authorizing, but not directing, the Debtors to continue the existing sale
                        process for the Purchased Assets and remaining Assets in accordance with
                        the Bidding Procedures;

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                e)     Approving Contura as the Stalking Horse Purchaser for the Purchased
                       Assets;

                f)     Authorizing, but not directing, the Debtors to coordinate the transfer
                       and/or assignment of necessary governmental permits and licenses directly
                       with the governmental authority responsible for the issuance and/or
                       transfer of the same;

                g)     Authorizing the Debtors to incur junior debtor in possession financing
                       from Contura necessary to finance the sale process; and

                h)     Authorizing, but not directing, the Debtors to terminate their existing
                       401(k) plan.

        29.     The Debtors further request that, following the completion of any Auction and the

 Sale Hearing, the Court enter the Sale Order that, among other things, (i) approves the sale of the

 Purchased Assets to Contura and/or any other successful bidder(s) free and clear of liens, claims,

 encumbrances and other interests pursuant to sections 363(b) and (f) of the Bankruptcy Code,

 and (ii) approves the assumption and assignment of any executory contracts and unexpired leases

 designated by the successful bidder for assumption and assignment pursuant to section 365 of the

 Bankruptcy Code.

                                      BASIS FOR RELIEF

 A.     Applicable Standard to a Sale or Use of Estate Assets

        30.     Section 363(b)(1) of the Bankruptcy Code provides, in relevant part, that “[t]he

 trustee, after notice and a hearing, may use, sell, or lease, other than in the ordinary course of

 business, property of the estate . . . .” 11 U.S.C. § 363(b)(1). Section 363(b) of the Bankruptcy

 Code does not specify a standard for determining when it is appropriate for a court to authorize

 the use, sale, or lease of property of the estate; however, bankruptcy courts within this

 jurisdiction have required that the authorization of such use, sale, or lease of property of the

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 estate, not in the ordinary course of business, must be based upon the sound business judgment

 of the debtor. See In re W.A. Mallory Co., Inc., 214 B.R. 834, 836 (Bankr. E.D. Va. 1997)

 (adopting the “sound business purpose” test for section 363 purposes and citing Lionel as

 authority therefor); In re WBQ P’ship, 189 B.R. 97, 102 (Bankr. E.D. Va. 1995) (same); see also

 In re Lionel Corp., 722 F.2d 1063, 1070 (2d Cir. 1983) (requiring “some articulated business

 justification” to approve the use, sale, or lease of property outside the ordinary course of

 business).

        31.     A sound business purpose for the sale of a debtor’s assets or equity interests

 outside the ordinary course of business may be found where such a sale is necessary to preserve

 the value of assets for the estate, its creditors, or interest holders. See, e.g., Lionel Corp., 722

 F.2d at 1070. Once a debtor articulates a valid business justification for its actions, courts should

 “give great deference to the substance of the directors’ decision and will not invalidate the

 decision, will not examine its reasonableness, and will not substitute its views for those of the

 board if the latter’s decision can be attributed to any rational business purpose.” In re Global

 Crossing Ltd., 295 B.R. 726, 744 (Bankr. S.D.N.Y. 2003) (citing Paramount Commc’ns Inc. v.

 QVC Network Inc., 637 A.2d 34, 45 n.17 (Del. 1994)); accord Integrated Res., 147 B.R. 650,

 656 (S.D.N.Y. 1992) (presuming, based on the business judgment rule, “that in making a

 business decision the directors of [the debtor] acted on an informed basis, in good faith and in the

 honest belief that the action was in the best interests of the company”) (quoting Smith v. Van

 Gorkom, 488 A.2d 858, 872 (Del. 1985)); In re Johns-Manville Corp., 60 B.R. 612, 616 (Bankr.

 S.D.N.Y. 1986) (“Where the debtor articulates a reasonable basis for its business decisions (as

 distinct from a decision made arbitrarily or capriciously), courts will generally not entertain

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 objections to the debtor’s conduct.”). Thus, if a debtor’s actions satisfy the business judgment

 rule, then the transaction in question should be authorized under section 363(b)(1) of the

 Bankruptcy Code.

 B.     Approval of the Bidding Procedures

        32.     A debtor’s business judgment is entitled to substantial deference with respect to

 the procedures to be used in selling assets from the estate. See, e.g., In re Integrated Resources,

 Inc., 147 B.R. 650, 656-57 (Bankr. S.D.N.Y. 1992) (noting that bid procedures negotiated by a

 debtor are to be reviewed according to the deferential “business judgment” standard; In re 995

 Fifth Ave. Assocs., L.P., 96 B.R. 24, 28 (Bankr. S.D.N.Y. 1989) (same).

        33.     Further, in a sale of property of the estate, the debtors’ primary goal is to

 maximize the proceeds received by the estate. See, e.g., Integrated Resources, 147 B.R. at 659

 (“‘It is a well-established principle of bankruptcy law that the . . . [Debtors’] duty with respect to

 such sales is to obtain the highest price or greatest overall benefit possible for the estate.’”)

 (quoting In re Atlanta Packaging Products, Inc., 99 B.R. 124, 130 (Bankr. N.D. Ga. 1988)).

 Further, a debtor maximizes value for creditors by selecting the ‘highest and best bid, and

 thereby protecting the interests of [the] debtor, its creditors, and its equity holders.”’ In re GSC,

 Inc., et al., 453 B.R. 132, 169-170 (Bankr. S.D.N.Y. 2011) (quoting In re Fin. News Networks,

 Inc., 126 B.R. 152, 157 (S.D.N.Y. 1991).

        34.     As a result, courts routinely recognize that procedures intended to enhance

 competitive bidding are consistent with the goal of maximizing the value received by the estate

 and therefore are appropriate in the context of bankruptcy transactions. See, e.g., Integrated




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 Resources, 147 B.R. at 659 (such procedures “encourage bidding and to maximize the value of

 the debtor’s assets”).

        35.     The Debtors believe that the proposed Bidding Procedures will promote active

 bidding from the most interested parties and accordingly, will elicit the best and highest offers

 available for the sale of the Debtors’ assets. The proposed Bidding Procedures will allow the

 Debtors to conduct the sale transactions in a controlled, transparent and fair fashion that will

 encourage meaningful input from key constituents and participation by financially capable

 bidders who will offer the best package for the Assets and who can demonstrate the ability to

 close a transaction.

        36.     While the Debtors understand and recognize that the proposed sale process is

 significantly shorter than the norm in other chapter 11 cases, the Debtors’ core source of its

 value, their operations and people, truly is the proverbial “melting ice cube.” Without Contura’s

 offer to purchase the Western Purchased Assets and Pax Purchase Assets and fund the Debtors’

 expenses during sale process by pre-funding the purchase price, the Debtors would be out of

 options, would immediately convert to chapter 7, and substantial value and jobs would be lost.

 The sale process proposed here, including the Bidding Procedures and proposed timeline truly

 are the Debtors only and last opportunity to achieve a value-maximizing sale and return as many

 employees to work as possible.

        37.     Moreover, similar procedures in complex chapter 11 cases have been previously

 approved in this Circuit. See, e.g., In re RoomStore, Inc., No. 11–37790 (DOT) (Bankr. E.D. Va.

 Jan. 3, 2012); In re Movie Gallery, Inc., No. 10–30696 (DOT) (Bankr. E.D. Va. Oct. 27, 2010);

 In re LandAmerica Fin. Grp., Inc., No. 08–35994 (KRH) (Bankr. E.D. Va. April 16, 2009); In re

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 Circuit City Stores, Inc., No. 08–35653 (KRH) (Bankr. E.D. Va. Mar. 3, 2009); In re S & K

 Famous Brands, Inc., No. 09–30805 (KRH) (Bankr. E.D. Va. Feb. 9, 2009); In re Chesapeake

 Corp., No. 08–36642 (DOT) (Bankr. E.D. Va. Jan. 20, 2009).               Accordingly, the Bidding

 Procedures should be approved.

 C.     The Stalking Horse Purchaser Should be Approved

        38.     The Debtors also seek authority to designate Contura as the Stalking Horse

 Purchaser for the Western Purchased Assets and the Pax Purchased Assets and to designate as of

 yet unknown third-parties as the Stalking Horse Purchaser for other Assets. Contura’s Bid, along

 with any other interested party who is designated as a Stalking Horse Purchaser, will be subject

 to higher and better offers pursuant to the Bidding Procedures. The use of a stalking horse in a

 public auction process for sales pursuant to section 363 of the Bankruptcy Code is a customary

 practice in chapter 11 cases, because the use of a stalking horse bid is, in many circumstances,

 the best way to maximize value in an auction process by locking in a purchase price “floor” and

 helping to garner interest in the assets. Accordingly, the Debtors believe that the use of a stalking

 horse is appropriate here.7

 D.      The Liens and Claims Granted in Connection with the Purchase Deposit

        39.     Section 364 of the Bankruptcy Code provides, in pertinent part:

                (c) If the trustee is unable to obtain unsecured credit allowable under
                section 503(b)(1) of this title as an administrative expense, the court, after
                notice and a hearing, may authorize the obtaining of credit or the
                incurring of debt—

                (1)     with priority over any or all administrative expenses of the kind
                specified in section 503(b) or 507(b) of this title;




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                (2)     secured by a lien on property of the estate that is not otherwise
                subject to a lien; or

                (3)     secured by a junior lien on property of the estate that is subject to
                a lien.

                (d)(1) The court, after notice and a hearing, may authorize the obtaining
                of credit or the incurring of debt secured by a senior or equal lien on
                property of the estate that is subject to a lien only if—

                        (A) the trustee is unable to obtain such credit otherwise; and

                        (B) there is adequate protection of the interest of the holder of the
                        lien on the property of the estate on which such senior or equal lien
                        is proposed to be granted.

 11 U.S.C. § 364(c), (d)(1).

        40.     Bankruptcy Rule 4001(c) governs the procedures for securing authorization to

 obtain debtor-in-possession financing and provides, in pertinent part:

                 The court may commence a final hearing on a motion for authority to
                 obtain credit no earlier than 14 days after service of the motion. If the
                 motion so requests, the court may conduct a hearing before such 14-day
                 period expires, but the court may authorize the obtaining of credit only to
                 the extent necessary to avoid immediate and irreparable harm to the estate
                 pending a final hearing.

 Fed. R. Bankr. P. 4001(c)(2).

        41.     As described above and in the Term Sheet, the Debtors seek authorization to grant

 junior liens and superpriority claims in connection with the Purchase Deposit to avoid immediate

 and irreparable harm to their estates and creditors. The realities of the Debtors’ current financial

 condition necessitate their granting junior liens and superpriority claims under sections 364(c) of

 the Bankruptcy Code to operate the sale process and preserve and maximize the value of their

 assets. Indeed, where few lenders likely can or will extend the necessary credit to a debtor, “it

 would be unrealistic and unnecessary to require [the debtor] to conduct . . . an exhaustive search
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 for financing.” In re Sky Valley, Inc., 100 B.R. 107, 113 (Bankr. N.D. Ga. 1988), aff’d sub nom.,

 Anchor Sav. Bank FSB v. Sky Valley, Inc., 99 B.R. 117, 113 (N.D. Ga. 1989); see also, In re

 Garland Corp., 6 B.R. 456, 461 (B.A.P. 1st Cir. 1980) (secured credit under section 364(c)(2)

 authorized, after notice and a hearing, upon showing that unsecured credit unobtainable).

        42.     The Debtors negotiated the Term Sheet with Contura pursuant to their sound

 business judgment, which is to be accorded deference so long as it does not run afoul of the

 provisions of and policies underlying the Bankruptcy Code. See, e.g., Bray v. Shenandoah Fed.

 Sav. & Loan Ass’n (In re Snowshoe Co.), 789 F.2d 1085, 1088 (4th Cir. 1986) (approving

 debtor-in-possession financing necessary to sustain seasonal business); In re Ames Dept. Stores,

 Inc., 115 B.R. 34, 40 (S.D.N.Y. 1990) (“The cases consistently reflect that the court’s discretion

 under section 364 is to be utilized on grounds that permit reasonable business judgment to be

 exercised so long as the financing agreement does not contain terms that leverage the bankruptcy

 process and powers or its purpose is not so much to benefit the estate as it is to benefit a party-in-

 interest”); In re Farmland Indus., Inc., 294 B.R. 855, 881 (Bankr. W.D. Mo. 2003) (noting that

 approval of post-petition financing requires, inter alia, an exercise of “sound and reasonable

 business judgment”).

        43.     Bankruptcy courts generally will defer to a debtor-in-possession’s business

 judgment regarding the need for and the proposed use of funds, unless such decision is arbitrary

 and capricious. See In re Curlew Valley Assocs., 14 B.R. 506, 511-13 (Bankr. D. Utah 1981); see

 also In re Trans World Airlines, Inc., 163 B.R. 964, 974 (Bankr. D. Del. 1994) (approving

 interim loan, receivables facility and asset-based facility based upon debtor’s prudent business

 judgment). Thus, bankruptcy courts will generally not second-guess a debtor-in-possession’s

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 business decisions involving “a business judgment made in good faith, upon a reasonable basis,

 and within the scope of his authority under the Code.” Curlew Valley, 14 B.R. at 513-14.

        44.     The Debtors have exercised sound business judgment in determining the

 appropriateness of entering into the Term Sheet and have satisfied the legal prerequisites to grant

 junior liens and superpriority claims on the terms and conditions set forth in the Term Sheet.

 The Purchase Deposit, as described in the Term Sheet, contains terms and conditions that are the

 best available under the exigent circumstances of these cases and will provide the Debtors with

 sufficient liquidity during the period necessary to implement the sale process. See Unsecured

 Creditors’ Comm. Mobil Oil Corp. v. First Nat’l Bank & Trust Co. (In re Ellingsen MacLean Oil

 Co.), 65 B.R. 358, 365 (W.D. Mich. 1986) (recognizing that a debtor may have to enter into hard

 bargains to acquire funds).

        45.     The funds and liquidity to be provided through the Purchase Deposit are vital to

 the Debtors’ ability to operate during the sale process, a process that is in the best interests of the

 Debtors’ estates, their creditors and stakeholders. Failure to approve the liens and claims granted

 in respect of the Purchase Deposit pursuant to the Term Sheet would cause the Debtors to be

 unable to pay their operating expenses in the ordinary course of business during the sale process.

 E.     Termination of the Debtors’ 401(k) Plan

        46.     Debtor Blackjewel, L.L.C previously established and maintained the Blackjewel

 LLC 401(k) Plan (the “401(k) Plan”), which is a qualified plan that is subject to sections 401(a)

 and 401(k) of the Internal Revenue Code (the “IRC”) and the Employee Retirement Income

 Security Act of 1974 (as amended, “ERISA”). The 401(k) Plan is sponsored and administered

 by Blackjewel, L.L.C. (in such capacity, the “Plan Sponsor”). Eligible employees (collectively,

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 the “Plan Participants”) can elect to make pre-tax salary deferral contributions and Roth

 contributions to the 401(k) Plan through payroll deductions that are then paid to a trust shortly

 thereafter. The 401(k) Plan also provides employer matching contributions. The Plan Sponsor

 collects contributions from the Plan Participants from each payroll and transfers those

 contributions into the 401(k) Plan’s trust.

        47.     As contemplated by the Sale Motion, the 401(k) Plan is not being conveyed to, or

 assumed by, Contura. In light of that, and in order to facilitate distributions to Plan Participants

 the Plan Sponsor has determined that it is in the best interests of the Plan Participants to take the

 necessary steps to terminate the 401(k) Plan immediately, subject to this Court’s approval.

 Accordingly, the Board of Directors of the Plan Sponsor have adopted resolutions to terminate

 the 401(k) Plan effective upon the date the Court enters an order approving this Motion.

        48.     Pursuant to the terms of the 401(k) Plan, the Plan Sponsor may terminate the

 401(k) Plan at any time. The Plan Sponsor’s contractual right to terminate the 401(k) Plan

 constitutes property of the estate within the meaning of section 541 of the Bankruptcy Code, and

 the Plan Sponsor’s use of that right may arguably constitute a use of property of its bankruptcy

 estate outside of the ordinary course of business. Thus, the Plan Sponsor seeks this Court’s

 authorization, out of an abundance of caution, to exercise its contractual right to terminate the

 401(k) Plan.

        49.     Section 363(b)(1) of the Bankruptcy Code provides, in relevant part, that a debtor

 in possession, “after notice and a hearing, may use, sell, or lease, other than in the ordinary

 course of business, property of the estate ….” 11 U.S.C. § 363(b)(1). Section 363 of the

 Bankruptcy Code does not set forth a standard for determining when it is appropriate for a court

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 to authorize the use of a debtor’s assets outside of the ordinary course of business. However,

 courts have required that the decision to sell or use assets outside the ordinary course of business

 be based upon the sound business judgment of the debtor. See In re Augusta Tissue Mill, LLC,

 Case No. 07-10531, 2007 Bankr. LEXIS 3038, *9 (Bankr. M.D. N.C. Sept. 5, 2007) (approving

 the debtor’s sale of assets under section 363(b) where the sale “reflects the exercise of the

 Debtor’s sound business judgment”); WBQ P’ship v. Virginia Dep’t of Med. Assistance Servs.

 (In re WBQ P’ship), 189 B.R. 97, 102 (Bankr. E.D. Va. 1995) (adopting the “sound business

 purpose” test for purposes of a sale under section 363).

        50.      A debtor’s showing of a sound business purpose need not be unduly exhaustive.

 Rather, a debtor is “simply required to justify the proposed disposition with sound business

 reasons.” In re Baldwin United Corp., 43 B.R. 888, 906 (Bankr. S.D. Ohio 1984).

        51.      Additionally, section 105(a) of the Bankruptcy Code provides a bankruptcy court

 with broad powers in the administration of a case under the Bankruptcy Code. Section 105(a) of

 the Bankruptcy Code provides that “[t]he court may issue any order, process, or judgment that is

 necessary or appropriate to carry out the provisions of [the Bankruptcy Code].” 11 U.S.C.

 § 105(a).    Section 105 of the Bankruptcy Code essentially codifies the bankruptcy court’s

 inherent equitable powers.

        52.      Debtor Blackjewel, L.L.C., as Plan Sponsor, submits that sound business reasons

 exist to terminate the 401(k) Plan. First, the Debtors are in the process of selling all of their

 assets and won’t remain in business. As such, the 401(k) Plan will not be conveyed to, or

 assumed by, Contura or any other potential purchaser of the Debtors’ assets. Second, the

 Debtors will soon no longer have any employees to administer the 401(k) Plan. Moreover, if the

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 401(k) Plan is not terminated, the Plan Sponsor’s estate will incur additional, unwarranted costs

 in connection with the ongoing administration of the 401(k) Plan. The termination of the 401(k)

 Plan will eliminate the Plan Sponsor’s obligation to perform under the 401(k) Plan (subject to the

 actions that the Plan Sponsor must take to distribute the 401(k) Plan assets and wind up the

 401(k) Plan) and associated costs of administration thereunder.

        53.     Accordingly, the Plan Sponsor has determined, in its sound business judgment,

 that it is in the best interests of the Plan Sponsor, the Plan Participants and the Plan Sponsor’s

 estate and creditors to terminate the 401(k) Plan.

        54.     Based upon the foregoing, the Plan Sponsor submits that termination of the

 401(k) Plan is supported by sound business judgment, and are necessary, prudent, and in the best

 interests of the Debtor and its estate and creditors.

 F.     Sales Free and Clear of Liens, Claims, and Other Interests

        55.     Under section 363(f) of the Bankruptcy Code, the Court may authorize the sale of

 assets free and clear of existing liens, claims and encumbrances, if any, if:

                (a)     applicable non-bankruptcy law permits the sale of such property free and
                        clear of such interest;

                (b)     the entity holding the lien, claim or encumbrance consents to the proposed
                        sale;

                (c)     such interest is a lien and the price at which such property is to be sold is
                        greater than the aggregate value of all liens on such property;

                (d)     such interest is in bona fide dispute; or

                (e)     such entity could be compelled in a legal or equitable proceeding to accept
                        a money satisfaction of such interest.

 11 U.S.C. § 363(f); see also In re Old CarCo LLC, 2010 U.S. Dist. LEXIS 143101, at *6

 (S.D.N.Y. July 2, 2010).
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         56.    The Debtors submit that one or more of the circumstances permitting sales free

 and clear will be met by or before the Sale Hearing is held. In addition, absent any objection to

 this motion, certain holders of claims may be deemed to have consented to the sale of the

 Purchased Assets. Finally, any claims that are interests in property being sold will attach to the

 net proceeds of the sale transaction, subject to any claims and defenses the Debtors may possess

 with respect thereto. The Debtors shall hold such proceeds in escrow pending the final resolution

 of any conflicting claims thereto. Accordingly, the Debtors believe that (a) the sale transaction

 will satisfy the statutory prerequisites of section 363(f) of the Bankruptcy Code and (b) the sale of

 the Purchased Assets and any remaining Assets should be approved free and clear of claims.

         57.    Moreover, courts in the Fourth Circuit have held that section 363(f)(5) of the

 Bankruptcy Code permits a debtor to sell its assets in a 363 bankruptcy asset sale free and clear

 of liens as long as the third-parties’ interests transfer to the sale proceeds according to the same

 priority they had in the assets. See In re Lady H Coal Co., 199 B.R. 595, 605, 1996 Bankr.

 LEXIS 1010, *23 n.6 (Bankr. S.D. W. Va. Mar. 29, 1996) (“It is clear in the Bankruptcy Code

 that a secured creditor receives payment from proceeds before payment to an unsecured creditor

 and it is also clear that a bankruptcy sale is free and clear of a secured creditor's claim.”); In re

 Ricco, Inc., 2014 Bankr. LEXIS 1265, *8 (Bankr. N.D. W. Va. Apr. 1, 2014) (“This court agrees

 that § 363(f)(5) authorizes a sale free and clear of liens and interests when the lien or interest

 holder could be compelled to accept less than the value of the claim secured by the claim or

 interest.).

         58.    The Bankruptcy Court for the Southern District of West Virginia has also

 specifically held that, under the bankruptcy court’s inherent equitable power, the court can

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 authorize the debtor to sell its property free and clear under section 363(f)(5) of the Bankruptcy

 Code. See Lady H Coal Co., 199 B.R. at *23-26 (“The well established rule that sales within a

 bankruptcy proceeding occur free and clear of any interest is founded upon the principle that

 good faith purchasers receive clean title to the property and that any claims against the property

 attach to the proceeds. . . . This channeling effect of claims to the proceeds protects good faith

 purchasers and thus encourages full value offers to bankruptcy estates. The channeling of claims

 to proceeds also precludes creditors from receiving preferential treatment and ensures that all

 creditors are treated according to the priorities of distribution as established by Congress in the

 Bankruptcy Code.

        59.     As stated by the Second Circuit: ‘In Van Huffel v. Harkelrode, 284 U.S. 225, 76

 L. Ed. 256, 52 S. Ct. 115 (1931), the Supreme Court explained that even absent express statutory

 authority, the Bankruptcy Court had the inherent equitable power to sell a debtor's property and

 to transfer third-party interests to the proceeds of the sale. 284 U.S. at 227-228. See also Ray v.

 Norseworthy, 90 U.S. (23 Wall.) 128, 134-135, 23 L. Ed. 116 (1874) (court may sell bankrupt's

 property encumbered by third party claims as long as third parties retain their respective

 priorities in the proceeds of the sale); Fierman v. Seward National Bank, 37 F.2d 11, 13 (2d Cir.

 1930) ("When the bankrupt's property was sold free of liens, the liens upon the property became

 rights against the substituted proceeds of sale, and claimants to this fund were obliged to assert

 their rights by applying to the court in whose custody it was."); In re Penn Central

 Transportation Co., 383 F. Supp. 1128, 1130 (E.D. Pa. 1974) (power of a reorganization court to

 transfer interests in debtor's property to the proceeds of a sale is well established) In re Johns-

 Manville Corporation, 837 F.2d 89, 93 (2d Cir. 1988), cert. denied, 488 U.S. 868 (1988).’

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 Extensive case law exists that claims are directed to the proceeds of a free and clear sale of

 property and may not subsequently be asserted against a successor. In re Johns-Manville

 Corporation, 837 F.2d 89 (2d Cir. 1988), cert. denied, 488 U.S. 868 (1988) (channeling of

 claims to proceeds consistent with intent of sale free and clear under § 363(f))”).

         60.       Importantly, the Debtors, Contura and their respective advisors have been in

 constant dialogue and engaged in extensive negotiations with the Debtors’ secured creditors

 regarding the potential sale and the sale process, and have encouraged them to put forth a viable

 bid for the Assets. While such creditors have not put forth a bid for the Assets, the Bidding

 Procedures expressly reserve their right to credit bid for the purchase of the Assets to the extent

 of their liens.

 G.      The Proposed Sale Meets the Business Judgment Standard and Should be Approved

         61.       The Debtors have determined, in an exercise of their business judgment, that the

 proposed sale of the Purchased Assets to the successful bidder(s) following the conclusion of the

 sale process will maximize value and benefit their estates and creditors. As a result of the

 postpetition efforts of the Debtors and the Debtors’ professionals, the Debtors believe that the

 process is the only option to achieve the best possible sale for the Purchased Assets and any

 other Assets under the circumstances. The sale process is designed to, under the circumstances,

 maximize value and market the Assets in a full, fair and transparent manner. For these reasons,

 the Debtors respectfully submit that the proposed sale is in the best interest of the Debtors’

 estates and creditors, will maximize value, is the best opportunity to return employees to work,

 and should be approved.




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 H.        Assumption and Assignment of the Designated Contracts and Approval of Proposed
           Cure Amounts

           62.      The Debtors also seek authority to assume and assign the executory contracts and

 unexpired leases to the successful bidder(s). The Debtors have the power to assume executory

 contracts or unexpired leases subject to the Court’s approval so long as the statutory

 requirements for assumption under section 365 of the Bankruptcy code are met. 11 U.S.C. §

 365(a).         Section 365(b)(1) of the Bankruptcy Code codifies the statutory assumption

 requirements, and provides in relevant part as follows:

           (b)(1) If there has been a default in an executory contract or unexpired lease of the
           debtor, the trustee may not assume such contract or lease unless, at the time of
           assumption of such contract or lease, the trustee—

                    (A)   cures, or provides adequate assurance that the trustee will
                    promptly cure, such default . . . ;

                    (B)     compensates, or provides adequate assurance that the
                    trustee will promptly compensate, a party other than the debtor to
                    such contract or lease, for any actual pecuniary loss to such party
                    resulting from such default; and

                    (C)    provides adequate assurance of future performance under
                    such contract or lease.

 11 U.S.C. § 365(b)(1).

           63.      The standard that is applied in determining whether an executory contract or

 unexpired lease should be assumed is the debtor’s “business judgment” that the assumption is in

 its economic best interests. See, e.g., Group of Institutional Investors v. Chicago, Milwaukee, St.

 Paul & Pacific Ry. Co., 318 U.S. 523 (1943) (applying Bankr. Act section 77(b), predecessor to

 Bankruptcy Code section 365, and rejecting test of whether executory contract was burdensome

 in favor of whether rejection is within debtor’s business judgment); Sharon Steel Corp. v. Nat’l

 Fuel Gas Distrib. Corp., 872 F.2d 36, 40 (3d Cir. 1989) (describing deference to a debtor’s
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 business judgment as “breathing space afforded [to] the debtor to consider whether to reject or

 assume executory contracts under the Code.”).

        64.     To determine if the business judgment test is met, the court “is required to

 examine whether a reasonable business person would make a similar decision under similar

 circumstances.” In re Exide Techs., 340 B.R. 222, 239 (Bankr. D. Del. 2006). Specifically, a

 court should find that the assumption or rejection is elected on “an informed basis, in good faith,

 and with the honest belief that the assumption . . . [is] in the best interests of [the debtor] and the

 estate.” In re Network Access Solutions Corp., 330 B.R. 67, 75 (Bankr. Del. 2005). Under this

 standard, a court should approve a debtor’s business decision unless that decision is the product

 of bad faith or a gross abuse of discretion. See, Computer Sales Int’l, Inc. v. Federal Mogul (In

 re Federal Mogul Global, Inc.), 293 B.R. 124, 126 (D. Del. 2003); Lubrizol Enters. v. Richmond

 Metal Finishers, 756 F.2d 1043, 1047 (4th Cir. 1985).

        65.     The meaning of “adequate assurance of future performance” depends on the facts

 and circumstances of each case, but should be given a “practical, pragmatic construction.” EBG

 Midtown S. Corp. v. McLaren/Hart Env. Eng’g Corp. (In re Sanshoe Worldwide Corp.), 139

 B.R. 585, 592 (S.D.N.Y. 1992); In re Rachels Indus., Inc., 109 B.R. 797, 803 (Bankr. W.D.

 Tenn. 1990); see also, In re Prime Motor Inns Inc., 166 B.R. 993, 997 (Bankr. S.D. Fla. 1994);

 Carlisle Homes, Inc. v. Azzari (In re Carlisle Homes, Inc.), 103 B.R. 524, 538 (Bankr. D.N.J.

 1988) (“[a]though no single solution will satisfy every case, the required assurance will fall

 considerably short of an absolute guarantee of performance.”).

        66.     Adequate assurance of future performance may be provided by demonstrating,

 among other things, the assignee’s financial health and experience in managing the type of

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 enterprise or property assigned. See, e.g., In re Bygaph, Inc., 56 B.R. 596, 605-06 (Bankr.

 S.D.N.Y. 1986) (stating that adequate assurance of future performance is present when the

 prospective assignee of lease from the debtor has financial resources and has expressed

 willingness to devote sufficient funding to the business in order to give it a strong likelihood of

 succeeding).

        67.     In addition, section 365(f)(1) of the Bankruptcy Code, by operation of law,

 invalidates provisions that prohibit, restrict, or condition assignment of or impose an economic

 impairment to an executory contract or unexpired lease. See, e.g., Coleman Oil Co., Inc. v.

 Circle K Corp. (In re Circle K Corp.), 127 F. 3d 904, 910-11 (9th Cir. 1997) (“no principle of

 bankruptcy or contract law precludes us from permitting the Debtors here to extend their leases

 in a manner contrary to the leases’ terms, when to do so will effectuate the purposes of section

 365.”), cert. denied, 522 U.S. 1148 (1998). Section 365(f)(3) goes beyond the scope of section

 365(f)(1) by prohibiting enforcement of any clause creating a right to modify or terminate the

 contract or lease upon a proposed assumption or assignment thereof. See, e.g., In re Jamesway

 Corp., 201 B.R. 73 (Bankr. S.D.N.Y. 1996) (finding that section 365(f)(3) prohibits enforcement

 of any lease clause creating a right to a terminate lease because it is being assumed or assigned,

 thereby indirectly barring assignment by debtor; all lease provisions, not merely those entitled

 anti-assignment clauses, are subject to court’s scrutiny regarding anti-assignment effect).

        68.     Here, the assumption and assignment of contracts and leases to the successful

 bidder(s) meets the business judgment standard and satisfies all requirements for assumption and

 assignment under section 365 of the Bankruptcy Code. The contracts and leases to be assigned

 relate specifically to the Assets being sold. The Stalking Horse Purchaser will identify the

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 contracts and leases potentially needed to operate the Western Purchased Assets and the Pax

 Purchased Assets going forward.         Purchasers of any other Assets will similarly designate

 contracts and leases necessary to operate those assets. Notice of the schedules of the contracts

 and leases to be assumed and assigned, and the cure amount thereof, will be provided to all

 applicable counterparties, and a process will be established pursuant to which such parties may

 object to such assumption and assignment or cure amounts, and the Court may resolve any such

 disputes that may arise. As such, the assumption and assignment of contracts and leases is

 essential to facilitating the proposed sale(s).

         69.     The Debtors expect to receive evidence of the successful bidder(s)’s ability to

 close the proposed sale and to otherwise perform its obligations under any contracts and leases to

 be assigned and will share such confidential information with any counterparty to a contract or

 lease that to be assigned that requests the information in writing. Accordingly, the Debtors

 submit that assumption and assignment of executory contracts and leases to the successful

 bidder(s) is appropriate under the circumstances.

                  WAIVER OF BANKRUPTCY RULE 6004(A) AND 6004(H)

         70.     To implement the foregoing successfully, the Debtors request that the Court enter

 an order providing that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a)

 and that the Debtors have established cause to exclude such relief from the 14-day stay period

 under Bankruptcy Rule 6004(h).

                                               NOTICE

         71.     The Debtors, with the assistance of their proposed claims and noticing agent, will

 provide notice of this motion by email and/or fax to: (i) the Office of the United States Trustee

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 for the Southern District of West Virginia; (ii) the Debtors’ prepetition secured lenders; (iii) the

 creditors appearing on the Debtors’ consolidated list of top 30 unsecured creditors; (iv) the

 Office of the United States Attorney for the District of West Virginia; (v) the Internal Revenue

 Service; (vi) any local, state, or federal agencies that regulate the Debtors’ businesses,

 (vii) counsel to Riverstone Credit Partners – Direct, L.P., Bailey & Glasser LLP, (viii) counsel to

 United Bank, Inc., Steptoe & Johnson PLLC, (ix) counsel to Highbridge Capital Management,

 LLC and Whitebox Advisors LLC, Paul, Weiss, Rifkind, Wharton & Garrison LLP, (x) counsel

 to Contura Energy, Inc., David Polk & Wardwell LLP, (xi) proposed counsel to Creditors’

 Committee, Whiteford Taylor & Preston, LLP; and (xii) all parties requesting notices pursuant to

 Bankruptcy Rule 2002. The Debtors submit that, in light of the nature of the relief requested, no

 other or further notice need be given.



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        WHEREFORE, the Debtors respectfully request the Court (a) to enter the Bidding

 Procedures Order, substantially in the form attached as Exhibit A, (b) after the conclusion of the

 Auction (if any) and the Sale Hearing, enter the Sale Order, and (c) grant such other relief the

 Court deems just and proper.

 DATED: July 25, 2019                         SUPPLE LAW OFFICE, PLLC



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